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NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

ANDREW RITZ and MICHAEL RITZ,

Plaintiffs,
Civil Action No. 20-13509-GC-DEA

ORDER & JUDGMENT
NISSAN-INFINITI LT; TRANS UNION,
LLG; EQUIFAX INFORMATION
SERVICES, LLC; and EXPERIAN
INFORMATION SOLUTIONS, INC,

Defendants.

CASTNER, District Judge

This matter comes before the Court on Defendant Nissan Motor Acceptance Corporation’!

(“NMAC”) Motion for Summary Judgment pursuant to Federal Rule of Civil Procedure (“Rule”)
56. (ECF No. 66.) Plaintiffs Andrew Ritz and Michael Ritz opposed (ECF No. 67), and NMAC
replied (ECF No. 71). The Court has carefully considered the parties’ submissions and decides
the motion without oral argument pursuant to Rule 78 and Local Civil Rule 78.1. For the reasons
set forth in the Court’s accompanying Memorandum Opinion, and for good cause shown,
IT IS on this 50 day of May, 2023, ORDERED, ADJUDGED, and DECREED, that
1. NMAC’s Motion for Summary Judgment (ECF No. 66) is GRANTED; and further
2. Judgment is entered in favor of Defendant NMAC and against Plaintiffs; and

further

Purportedly improperly pled as “Nissan-Infinity LT.”
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3. The Clerk’s Office is directed to terminate NMAC’s Motion (ECF No. 66.) and

close this case.

GE@KGETTG CASTNER, U.S.D.J.
